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                   YEAR 1 SUMMARY ANALYSIS REPORT


                      go         In-Circle Program




  Year 1 Report Summary                                              page 1



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                                                                                EXHIBIT

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1. Number of Families Served (current# offamilies in study) In Year 1: 417

2. Average Tenure of a Family In The Program (All Phases): 93.5 Days
  (92 Days —Youth Villages; 95 Days -Canopy)

3. Average Caseload Size: 4.9 Families/Staff (3.72 - YV; 6.0 - Canopy)

4. Examples of Evidence-Based Practices Used:

  A. Youth Villages - Collaborative Problem Solving
  B. Canopy — MAP System, Risking Connections

5. Examples of Community Engagement and Support System Access:

 (A)School Interaction and Relationships
 (B) Mental Health/Physical Health Connections/Support
 (C)Job Search and Placement Activities
 (D) Financial Management Assistance,
 (E)Youth Court and Law Enforcement Relations
 (F) Housing Connections
 (G) MAP Team Support
 (H)Thrift Store Relations for Obtaining Needed Household Goods
 (I) Church Outreach, Etc.

6. Percentage of Children of Families Who Remain Safely in the Home at Discharge: 94%

7. Program Process and Outcome

  As The Chart Below Indicates, All Responses (Family, Provider, CPS Worker, and NCFAS*
  Data) Reflect A High Rate of Program Effectiveness with an 88% Positive (Effective or
  Very Effective) Composite Score.

 The Two Sources Asked About Program Satisfaction (Family and CPS Worker) Reflected
 a 90% Positive (Satisfied, Very Satisfied) Composite Score.

  With Regard to the Referral Process, the CPS Worker Survey and the Provider Survey
  Reflect a Composite Score Of 90% Positive (Smooth/Seamless or Very Smooth/Seamless).


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 With Regard To Family Functioning, Both the Family (Perception) and the NCFAS Assessment
 (Evidence) Scores At Discharge Reflect Composite Scores As Follows:

   ■     Parent Capacity, Knowledge, Skill: 92% Positive (Increased or Significantly Increased)
   ■     Family Interaction: 93% Positive (Improved or Significantly Improved)
   ■     Home Management Knowledge and Skills: 90% Positive (Improved or significantly
         I mproved)
   ■     Social Supports Access and Use: 95.5% Positive (Significant Increase in Access and Use
   ■     Child/Caregiver Relationship: 97.5% Positive (Significant Improvement In Relationship)
   ■     Child Well-Being/Safety: 93.5% Positive (Significant Improvement in Child Safety/
         Well-being)

 Category                     Family Survey       NCFAS Data      CPS Worker          Provider Survey
                                                                    Survey
 A. Effectiveness              84% report        4.58 /5.0 scale 4.27 /5.0 scale       4.51 /5.0 scale
                               program is        (92% positive) (85% positive)         (90% positive)
                                effective
  B. Satisfaction            4.74 /5.0 scale                       4.20 /5.0 scale
                             (95% positive)                        (84% positive)
  C. Referral Process                                              4.20 / 5.0 scale    4.43 / 5.0 scale
                                                                   (84% positive)      (89% positive)
  D. Parental Capacity,        4.57 / 5.0          4.57 / 5.0
     Knowledge, Skill        (92% positive)      (92% positive)
  E. Family Interaction        4.51 / 5.0          4.73 / 5.0
                             (90% positive)      (95% positive)
  F. Home Management           4.24 / 5.0          4.75 / 5.0
      Knowledge and Skill    (85% positive)      (95% positive)
  G. Social Supports           4.73 / 5.0          4.78 / 5.0
      Access and Use         (95% positive)      (96% positive)
  H. Child/Caregiver           4.83 / 5.0          4.93 / 5.0
      Relationship           (97% positive)      (98% positive)
  I. Child Well-Being and      4.71 /5.0           4.65 / 5.0
     Safety                  (94% positive)      (93% positive)

8. Referral Timeliness
   The program originally required the time from referral to service start to be within 48 hours.
   Given the demand (people being referred) and the case load size limit, this requirement was
   becoming unrealistic. At the initial stage of the program, staff had a 94% success rate of
   starting services within 48 hours. At the 7-month point, it dipped to 71%, and then to a 56%
   success rate. After review and discussion, the requirement was reworded to say, "referral
   initial staff contact". Although there is a wait list in certain counties for accessing the program,
   a sample interview with families (enrolled 15-30 days) revealed that 90% of those responding
   had been contacted (and started services).

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9. Court Ordered/Referred Families
   Approximately 125 court-ordered/court-referred families (# of current court families in study) have
   entered the program. As with the NCFAS, the court report data is collected at discharge in 5
   of the NCFAS categories. Not surprisingly, the intake scores are lower in general than
   the program intake scores as a whole. The discharge scores are much closer to the general
    program population scores producing an indicated percentage change larger than the overall
   change. The percentage of children reunified/remaining in the home is the same as those in
   the program as a whole at 94%.(See page 8 for Court Report)

10. Cost Comparison
    A comparison of the average cost per family in In-Circle to the average cost of children in
    custody (board rate, etc.) or an institutional setting will soon be identified and reported
    separately when the relevant data is collected and analyzed.




    *NCFAS — North Carolina Family Assessment Survey. The primary functional assessment tool for
             the In-Circle program.




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                                       IN-CIRCLE Program

                   Summary Results of Family Interview/Survey
                              (12-month point)

  ■ 73% say they are very satisfied with the intensity of services provided

  ■ 94% say that they have a high level of access to provider staff

  ■ 94% say staff treats whole family with respect

  ■ 83% say they actively participate in services/supports provided

  ■ 85% say they are very confident that they will use the skills they learned to ensure
    their child stays at home

     76% say they are very satisfied with the staff and service/supports provided

  ■ 75% report that their level of parental knowledge and skill has significantly increased

  ■ 75% report that family interaction has significantly improved

  ■ 74% report home management knowledge and skills has significantly improved

  ■ 62% report a significant increase in the access to and use of community supports

  ■ 84% report the relationship with their child has significantly improved

  ■ 90% report overall safety of child (ren) has significantly improved

  ■ 87% say they are receiving all services/supports that they need/want




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 Family- Identified Requested Services:
 1. Transportation
 2. Mentor Program
 3. Program to Assist With Finding Job
 4. Affordable Housing
 5. Receiving List Resources at the Beginning
 6. Monetary Support For Needs, i.e., Hygiene, Rent, Home Repairs, Other Bills
 7. Continue Being Checked On After the Program
 8. Anger Management
 9. Community Resources
 10. Education support

  Family Suggestions:

 - Keeping Same Case Workers (Not Introducing New People)
 - Transportation
 - More Resources
 - Male Staff to Connect With the Boys
 - Punctuality
 - Didn't Have A Consistent Therapist, So Child Couldn't Open Up.

  Family Comments:

 "Very thankful & appreciative of the program"
 "I love my case workers & are very respectful"
 "Thank you! The staff is amazing!"
 "program is awesome!"
 "I love my workers!"
 "everything was perfect"
 "wonderful program!"
 "From beginning to end they went above and beyond"
 "Everyone was wonderful & we hated to see them go!"
 "Staff was amazing the whole time"
 "staff was amazing! 100%!"
 "Ready to be over, but will miss staff. They have been very helpful."
 "I appreciate all that the program provides."
 "staff has been excellent from the beginning and i really can call them at anytime"
 "we love the staff! they became a part of our family"
 "Staff is amazing!"
 "I like everyone in the group & they are very respectful"
 "they were wonderful, so good to me and my boys and extremely helpful.

 "Staff has not been on time, which has wasted my time".
 "Should have had a meeting to get everyone on same page, some of the staff was great and some
  were not very helpful."




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               NCFAS Comparison Report




              (Overall Average Scoresfor Responses)                       Point Scale: 1-6
                                                                       (1=Worst, 3=Average,
                                                                             6=BEST)


                                                                    Point
           NCFAS Category                Intake       Discharge    Change        % Change
                                             4.21       4.75           0.54          13%

A.   ENVIRONMENT
                                             3.70       4.57           0.87          23%

B.   PARENTAL CAPABILITIES
                                             4.07       4.73           0.66          16%

C.   FAMILY INTERACTION
                                             4.02       4.72           0.70          17%

D.   FAMILY SAFETY
                                             3.89       4.58           0.69          18%

E.   CHILD WELL-BEING
                                             4.23       4.78           0.55          13%

F.   SOCIAL/COMMUNITY LIFE
                                             3.85       4.45           0.60          16%
G    SELF-SUFFICIENCY
                                             4.09       4.64           0.55          13%
H.   FAMILY HEALTH
                                             4.38       4.93           0.55          13%
I.   PARENT/CHILD AMBIVALENCE
                                             4.11       4.58           0.48          12%

J.   READINESS FOR PRESERVATION
                                             3.93       4.67           0.74          19%
K.   TRAUMA
                                             4.08       4.66           0.58          14%


L. POST-TRAUMA WELL-BEING
                                             4.05       4.67           0.63          16%
                     Overall Average:



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                          Reunification/Remain in home:

                      Total Current Discharges in Study = 188

                      # Reunifications/Remain in Home = 176

                              % of Total That Were
                            Reunified/Remain in Home
                                      = 94%


                 Of the twelve (12) that did not remain in the home:

       (1) — Family discharged services early
       (6) — Entered/Re-Entered MDCPS Custody
       (1) — The child will remain in CPS custody to seek mental health treatment
      (1) — The child remained with resource parent
      (1) — Children went to bio dad due to mom testing negative on her drug screen

       (1) — The child remained with Foster Family (continued supervised visitation
             w/ mom)

      (1) — Children reside with aunt and mom has supervised visits




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                        0             In-Circle Program

                             COURT REPORT SUMMARY

       Date:                        11/1/18
       Family:                      Composite Scores
       Provider Agency:             Canopy and Youth Villages
       Referring County:            N/A



               Summary Status of Family Referred/Ordered by Court:

                   1 a-e from NCFAS                    scale: 0-6(6 highest)
    1. FAMILY FUNCTIONING LEVEL                         Intake     Discharge    % Change
    a. Home Environment                                   3.44        4.50       +30.0%

    b. Parent Capabilities                                 3.41       4.27          +25.0%

    c. Child Safety and Wellbeing                          3.79       4.44          +17.0%

    d. Family Interaction                                  3.69       4.35          +18.0%

    e. Readiness for Preservation Reunification            3.25       4.78          +45.0%

    f. Overall Average Improvement Rate                                             +27.0%




        "2. CHILD/FAMILY OUTCOME AT DISCHARGE
         a. Child Remains in Home                                              94%

          b. Child Entered/Re-entered MDCPS System                             6%




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